            Case 1:22-cv-00986-GTS-CFH Document 49-12 Filed 10/13/22 Page 1 of 1




                                    JOURNAL OF THE COMMITTEE OF SAFETY.                                                    389
                            "IN    COMMITTEE OF SAFETY,            Colony, who is hereby directed to furnish the chairmen of
                                  " New-York, March 27th, 1776.t
      "WHEREAS the Continental Congress, on the 14th inst.
                                                                   the  committees of the several towns, precincts and districts
                                                                   in the county, with copies thereof, without delay.
   did 'recommend to the several Assemblies, Conventions and
   Councils or Committees of Safety of the United Colonies,
   immediately to cause all persons to be disarmed within
   their respective Colonies, who are notoriously disaffected
   to the cause of America, or who have not associated and                          DIE JOVIS, 9 HO. A. M.
   refuse to associate to defend by arms these United Colonies                                          March 28th, 1776.
   against the hostile attempts of the British fleets and armies,     The Committee met pursuant to adjournment.
   and to apply the arms taken from such persons in each re-         PRESENT-William Paulding, Esqr. Chairmanpro tempore.
   spective Colony, in the first place, to the arming the Con-       Colo. McDougall, Mr. Prince-For New.York.
   tinental troops raised in said Colony ; in the next, to the       Mr. Cuyper-Orange.
   arming such troops as are raised by the Colony for its            Mr. Adrian Bancker-Richmond.
   own defence, and the residue to be applied to the arming          Mr. Paulding- Westchester.
   the associators. That the arms when taken, be appraised           Colo. Wm. Williams-Cumberland.
   by indifferent persons, and such as are applied to the arm-
                                                                     Mr. Tredwell-Suffolk.
   ing Continental troops be paid for by Congress, and the re-
                                                                     Colo. Morris Graham-Dutches.
  sidue by the respective Assemblies, Conventions, or Coun-
                                                                     Mr. Leffertse-Kings.
  cils or Committees of Safety :' AND WHEREAS the neces-
  sity of having the Continental troops and other inhabi-             Ordered, That the barrack master be, and he is hereby
  tants of these Colonies who are disposed and willing to authorized, to supply all the troops which are already
  defend the rights of their country immediately armed, ren- or shall hereafter arrive, as also those that may be ordered
  ders it highly expedient that the said resolution should be to Kings county, with the necessary barrack furniture and
  carried into immediate execution. Therefore,                    utensils, as far as those which he has already provided and
      "ResQlved, That it be recommended to the committees in store will enable him to supply them with.
  of the several cities, counties, manors, townships, pre-            Ordered, That the barrack master assist Colo. Brewer
  cincts and districts in this Colony, forthwith to cause to be   in  providing proper stores for storing provisions and other
  disarmed, all persons within their respective districts who necessaries for the use of the Continental troops in this
  are known to be disaffected to the cause of America, and city, and that the barrack master be authorized to demand
  also all such persons as shall refuse to sign the following the keys of such stores as he thinks best calculated to an-
  association, to wit :                                           swer the purpose ; and further, that he be authorized to
                                                                  enter and take possession of all such stores and deliver
      "' We, the subscribers, inhabitants of               in the them to the care of Colo. Brewer, or his order.
  county of               and Colony of New-York, do volun-           A letter from General Thompsson was read and filed,
  tarily and solemnly engage and associate, under all the ties and is in the words following, to wit:
  held sacred amongst mankind, at the risk of our lives and
                                                                      " GENTLEMEN :-Please to give Mr. Hugh Huges,
  fortunes, to defend by arms the United American Colonies
  against the hostile attempts of the British fleets and armies,  commissary     of military stores, an order for 10,000 flints,
  until the present unhappy controversy between the two           and   two  tons  of lead, on the person who is entrusted by
  countries shall be settled.'                                    you   with  those articles, and you will much oblige
     "And that it be recommended to the said committees to                       "Yr. very hble. servant,
  use all possible prudence and moderation in carrying said                             " WM. THOMPSON, Brigr. Genl.
                                                                     "New-York, March 26, 1776.
 resolve into execution; and that in such districts where "To the Honble. Committee of Safety."
  the committees find it absolutely necessary to call in an           Ordered, That Mr. Richard Norwood, Commissary, de-
  armed force, they are hereby empowered to order any part liver to Mr. Hugh Hughes 10,000 flints, and two tons of lead,
 of the minute men or common militia of their districts to and that Mr. Norwood take Mr. Hughes' receipt for the
 their assistance, that they and the field officers of the forces same, on Continental account, as being ordered by the
 shall judge necessary.                                           Continental general for Continental troops.
     "And that the arms so taken be appraised by indifferent          John Van Ness, Esqr. colonel of the first minute regi-
 persons, appointed by said committees, and that an account ment of Dutchess county, being deceased, whereby the
 be made of their number, the persons they belong to, and command of that regiment has devolved on Cornelius
 their appraised value, and that each one be marked with Humphrey, Esqr. lieutenant-colonel of that regiment ; and
 the initial letters of the person's name from whom they Mr. Humphrey being now here in actual service with the
were taken ; and that the arms, together with the account said regiment, or a part thereof, and recommended as well
 of them, be delivered to the chairman of the committee of qualified to be colonel of the said regiment ;
the district in which they were so taken, or to such person           Ordered, That Cornelius Humphrey be appointed co-
or persons as shall be appointed by the said committee for lonel of the said regiment of minute men in the place of
that purpose, he or they giving a receipt for the same; John Van Ness, Esqr. deceased, and that a commission
which accounts from the several districts are to be forth- issue to him accordingly.
with transmitted to the chairman of, and to be laid before, the       Mr. Thomas Lefoy, who served as a lieutenant
county committee, who are hereby directed to transmit an Wynkoop's company in the last campaign, beinginunpro-            Capt.
account of the number of arms so taken, and how many of vided for, and the first lieutenancy of Capt. Ambrose Hor-
them are fit for immediate service, to the Committee of ton's company being yet vacant,
Safety, or Provincial Congress of this Colony, that they              Ordered, That a warrant issue to the said Thomas Le-
may be enabled to make further order therein ; and in foy, to be first lieutenant in Captain Horton's company,
those counties where there are skillful artificers for the and the same was issued accordingly.
purpose that the said committees do cause the said arms
to be fitted up with bayonets, steel rammers and other ne-                                    4 ho. P. M. March 28th, 1776.
cessary repairs, without delay, at the public expense ; and
where there are no such artificers, the committees are to            The Committee met pursuant to adjournment.
send said arms to the Committee of Safety, or Provincial            PRESENT-Mr. Wm. Paulding, Chairman.
Congress, as soon as collected."                                    Mr. Cuyper-Orange.
     Ordered, That a copy of these resolutions be transmit-         Mr. Moore-Tryon.
ted to the chairman of the committee of each county in the          Mr. Everson, Colo. Morris Graham-For Dutchess.
                                98




                      Reproduction by Permmission of Buffalo & Erie County Public Library Buffalo, NY
